                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                 GREENEVILLE DIVISION

 UNITED STATES OF AMERICA                            )
                                                     )
        v.                                           )                2:19-CR-52
                                                     )                JUDGE REEVES
 BRANDON ISAIAH OTEY                                 )

                             MOTION TO DISMISS INDICTMENT

        COMES NOW the United States of America, by and through the United States Attorney

 for the Eastern District of Tennessee, and moves the Court to dismiss the Indictment (Doc. 1)

 filed on April 9, 2019, in the above-captioned case. On July 9, 2019, the defendant was similarly

 charged in a separate case in this district, 2:19-CR-96 (sealed Indictment). The United States

 does not intend to pursue the original charges in the above-styled case, and thus moves the Court

 to dismiss.

        Respectfully submitted, this the 23rd day of October, 2019.

                                                     Respectfully submitted,

                                                     J. DOUGLAS OVERBEY
                                                     United States Attorney

                                              By:     s/Thomas A. McCauley
                                                     Thomas A. McCauley, TN Bar#035250
                                                     Assistant U.S. Attorney
                                                     220 West Depot Street, Ste. 423
                                                     Greeneville, TN 37743
                                                     423/823-5033
                                                     Thomas.McCauley@usdoj.gov




Case 2:19-cr-00052-PLR-CRW Document 20 Filed 10/23/19 Page 1 of 1 PageID #: 40
